                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                      CRIMINAL DOCKET NO. 5:10CR56-1-RLV


UNITED STATES OF AMERICA,                   )
          Plaintiff,                        )
                                            )
                                            )
              vs.                           )               ORDER
                                            )
ADAM KEITH JONES, et al.                    )
           Defendant.                       )
______________________________              )


       THIS MATTER is before the Court upon Defendant’s Motion For The Court’s

Reconsideration In Defendant’s “Motion For Sentence Reduction Pursuant to 18 U.S.C.§

3582 And Sentencing Guidelines Amendment 782”, filed on May 22, 2015. Defendant

requests the Court to reconsider its Order of May 12, 2015, denying Motion for Sentence

Reduction Pursuant to 18 U.S.C.§ 3582(c)(2).

       Upon careful review of Defendant’s Motion for Reconsideration, the Court will deny

the Motion because: (1) the “comparably less” reduction of sentence authorized by

Amendment 782 derives only from the portion of Defendant’s original sentence

representing a reduction for substantial assistance; and, (2) even if the foregoing rationale

is incorrect the Court would, and hereby does, deny reconsideration in its discretion

because of the recalcitrance exhibited by Defendant through his infractions for

misconduct while in prison as argued by the Government, whether there were three

violations or two.

       IT IS, THEREFORE, ORDERED that Defendant’s Motion for Reconsideration is

hereby DENIED.                      Signed: June 26, 2015




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